                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             EASTERN DIVISION

                               No. 4:10-CR-30-1H

DERRICK KEITH USSERY, SR.,                )
     Petitioner,                          )
                                          )
       v.                                 )                 ORDER
                                          )
UNITED STATES OF AMERICA,                 )
     Respondent.                          )



      This matter is before the court on petitioner’s motion for

reconsideration denying his motion to vacate pursuant to 28 U.S.C.

§   2255,    [DE   #127],    and   Rule   60(b)   motion,   [DE   #135].   The

government has not responded, and the time for further filings has

expired.     This matter is ripe for adjudication.

    A. Motion for Reconsideration, [DE #127]

      In petitioner’s motion for reconsideration, he alleges he is

no longer a career offender under United States v. Simmons, 649

F.3d 237 (4th Cir. 2011), however, the court considered his status

in light of Simmons and found he was a career offender.             [DE #115].

The Fourth Circuit dismissed the appeal, as petitioner had not

made the requisite showing for a certificate of appealability to

issue.      [DE #124].      For lack of good cause shown, this motion is

DENIED.




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  B. Rule 60(b) Motion, [DE #135]

     Federal Rule of Civil Procedure 60(b) is an extraordinary

remedy that permits a court to “relieve a party … from a final

judgment, order, or proceeding.”           Fed. R. Civ. P. 60(b).          See

Mayfield v. Nat'l Ass'n for Stock Car Auto Racing, Inc., 674 F.3d

369, 378 (4th Cir. 2012) (citing Ackermann v. United States, 340

U.S. 193, 202 (1950)).           To do so, a party must demonstrate

“exceptional circumstances” warrant granting the relief.                 Dowell

v. State Farm Fire & Cas. Auto. Ins. Co., 993 F.2d 46, 48 (4th

Cir. 1993) (quoting Werner v. Carbo, 731 F.2d 204, 207 (4th Cir.

1984)).     Additionally, the party seeking relief under Rule 60(b)

“must make a threshold showing of timeliness, ‘a meritorious claim

or defense,’ and lack of unfair prejudice to the opposing party.”

Coleman v. Jabe, 633 F. App'x. 119, 120 (4th Cir. 2016) (quoting

Aikens v. Ingram, 652 F.3d 496, 501 (4th Cir. 2011)). After a

party satisfies this threshold showing, “he must proceed to

satisfy one or more of the rules’ six grounds for relief from

judgment.” Werner, 731 F.2d at 207. The six specific sections of

Rule 60(b) are:

     (1)   mistake, inadvertence, surprise, or      excusable
     neglect; (2)    newly discovered evidence that, with
     reasonable diligence, could not have been discovered in
     time to move for a new trial under Rule 59(b); (3) fraud
     (whether previously called intrinsic or extrinsic),
     misrepresentation, or misconduct by an opposing party;
     (4) the judgment is void; (5) the judgment has been
     satisfied, released, or discharged; it is based on an
     earlier judgment that has been reversed or vacated; or

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     applying it prospectively is no longer equitable; or (6)
     any other reason that justifies relief.
Fed. R. Civ. P. 60(b)(1)-(6).

     Petitioner claims that Rule 60(b)(2) and (b)(6) provide him

with relief from the court’s dismissal of his Section 2255 Motion.

Specifically, he claims that he is no longer a career offender as

his North Carolina convictions for possession with intent to sell

and deliver are no longer predicate offenses.             [DE #135 at 2].

Petitioner was sentenced as a career offender under the United

States   Sentencing     Guidelines   (“USSG”)   § 4B1.1(a).       His    prior

convictions    remain   “controlled    substance    offenses”    under   USSG

§ 4B1.2(b).     Petitioner has failed to support this request.            For

lack of good cause shown, this motion, [DE #135], is hereby DENIED.

                                 CONCLUSION

     For     the   foregoing     reasons,     petitioner’s      motion    for

reconsideration, [DE #127], and motion pursuant to Rule 60(b), [DE

#135], are hereby DENIED.

     This 30th day of December 2020.


                              __________________________________
                              MALCOLM J. HOWARD
                              Senior United States District Judge
At Greenville, NC
#35




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